Case 2:13-cv-01495-AJS Document 1-2 Filed 10/15/13 Page 1 of 9

FO THE WRIT CLERK:
A WRIT IS HEREBY WAIVED. DO NOT ISSUE A NOTICE OF SUIT DIRECTED
TO THE SHERIFF BECAUSE NONE OF THE DEFENDANTS IN THIS CASE
ARE LOCATED WITHIN PENNSYLVANIA

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

Vv.

LifeWatch, inc.
LifeWatch Security, inc.
Harmonious Enterprises, Inc.
(each doing business as LifeWatch USA
and as Home Health Alert)
Defendants

  

 

EXHIBIT
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CIVIL DIVISION
ARBITRATION DOCKET
No. AR-13-004302

TYPE OF PLEADING:
Plaintiff's Original Complaint

FILED BY:
Stewart N. Abramson
Plaintiff

Counsel of Record:
Stewart N. Abramson, Pro Se

ADDRESS:

522 Glen Arden Drive
Pittsburgh, PA 15208
412-362-4233 (voice)
412-362-7668 (fax)
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NOTICE TO DEFEND

YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth
in the following pages, you must take action within TWENTY (20) days after this
complaint and notice are served, by entering a written appearance personally or by
attorney and filing in writing with the court your defenses or objections to the claims set
forth against you. You are warned that if you fail to do so the case may proceed without
you and a judgment may be entered against you by the court without further notice for
any money claimed in complaint or for any other claim or relief requested by the
Plaintiff. You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWER AT ONCE. IF YOU DO NOT
HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN OBTAIN LEGAL
HELP. IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE.

LAWYER REFERRAL SERVICE — THE ALLEGHENY COUNTY BAR ASSOCIATION
920 CITY-COUNTY BUILDING — 414 GRANT STREET
PITTSBURGH, PENNSYLVANIA 15219
412-261-5555

HEARING NOTICE

YOU HAVE BEEN SUED IN COURT. The above Notice To Defend explains what you
must do to dispute the claims made against you. If you file the written response
referred to in the Notice To Defend, a hearing before a board of arbitrators will take
place in Room 702 of the City-County Building, 414 Grant Street, Pittsburgh,
Pennsylvania on November 8, 2013 , at 9:00 AM. IF YOU FAIL TO
FILE THE RESPONSE DESCRIBED IN THE NOTICE TO DEFEND, A JUDGMENT
FOR THE AMOUNT CLAIMED IN THE COMPLAINT MAY BE ENTERED AGAINST
YOU BEFORE THE HEARING.

DUTY TO APPEAR AT THE ARBITRATION HEARING
If one or more of the parties is not present at the hearing, THE MATTER MAY BE
HEARD AT THE SAME TIME AND DATE BEFORE A JUDGE OF THE COURT
WITHOUT THE ABSENT PARTY OR PARTIES. THERE IS NO RIGHT TO A TRIAL
DE NOVO ON APPEAL FROM A DECISION ENTERED BY A JUDGE.

NOTICE: YOU MUST RESPOND TO THIS COMPLAINT WITHIN TWENTY (20)
DAYS OR A JUDGMENT FOR THE AMOUNT CLAIMED MAY BE
ENTERED AGAINST YOU BEFORE THE HEARING.

IF ONE OR MORE OF THE PARTIES !S NOT PRESENT AT THE HEARING, THE
MATTER MAY BE HEARD IMMEDIATELY BEFORE A JUDGE WITHOUT THE
ABSENT PARTY OR PARTIES. THERE IS NO RIGHT TO A TRIAL DE NOVO ON
APPEAL FROM A DECISION ENTERED BY A JUDGE,
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson

Plaintiff
CIVIL DIVISION
Vv. ARBITRATION DOCKET
No. AR-13-004302
LifeWatch, Inc.

LifeWatch Security, Inc.

Harmonious Enterprises, Inc.
(each doing business as LifeWatch USA
and as Home Health Alert)

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Defendants

PLAINTIFF’S ORIGINAL COMPLAINT

 

The Facts Related to this Case:

1.

At all times material, Plaintiff Stewart N. Abramson (hereinafter referred to as
Plaintiff and/or Abramson) was and is an individual residing in Allegheny County,
Pennsylvania at 522 Glen Arden Drive, Pittsburgh, PA 15208.

At all times material, Defendant LifeWatch, Inc. (hereinafter referred to as Defendant
and/or LifeWatch) was registered with the New York Department of State (DOS ID #
2089016). The address for LifeWatch was listed as 266 Merrick Road, Lynbrook
Road, Lynbrook, NY 11463.

At all times material, Defendant LifeWatch Security, Inc. (hereinafter referred to as
Defendant and/or LifeWatch Security) was registered with the New York Department
of State (DOS ID # 4398180). The address for LifeWatch Security was listed as 266
Merrick Road, Lynbrook Road, Lynbrook, NY 11563.

At all times material, Defendant Harmonious Enterprises, Inc. (hereinafter referred to
as Defendant and/or Harmonious Enterprises) was registered with the New York
Department of State (DOS ID # 4354728). The address for Harmonious Enterprises
was listed as 37 West 47" Street, #201, New York, NY 10036.

At all times material, Defendants LifeWatch, LifeWatch Security, and/or Harmonious
Enterprises did business together as a single common enterprise.

At ail times material, Defendants LifeWatch, LifeWatch Security, and Harmonious
Enterprises each did business as the apparently unregistered fictitious business
name of “LifeWatch USA".
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7. At all times material, Defendants LifeWatch, LifeWatch Security, and Harmonious
Enterprises each did business as the apparently unregistered fictitious business
name of “Home Health Alert”.

8. At all times material, defendants LifeWatch, LifeWatch Security, and Harmonious
Enterprises each did business using the Internet web site www.lifewatch-usa.com.

9. Atall times material, defendants LifeWatch, LifeWatch Security, and Harmonious
Enterprises each did business using the telephone numbers 888-650-6837 and 800-
716-1433.

10. On 8/20/13, at approximately 11:47 AM, Plaintiff received a telemarketing call on his
residential home telephone line (hereinafter referred to as CALL 1). The caller ID
number associated with CALL 1 was 412-196-4852.

11.On 8/20/13, at approximately 3:54 PM, Plaintiff received a telemarketing call on his
residential home telephone line (hereinafter referred to as CALL 2). The caller ID
number associated with CALL 2 was 412-196-4852.

12.On 8/21/13, at approximately 4:38 PM, Plaintiff received a telemarketing call on his
residential home telephone line (hereinafter referred to as CALL 3). The caller ID
number associated with CALL 3 was 412-196-4852.

13.On 8/23/13 at approximately 12:53 PM, Plaintiff received a telemarketing call on his
residential home telephone line (hereinafter referred to as CALL 4). The caller ID
number associated with CALL 4 was 412-196-4852.

14. Each of the above-mentioned calls (ie. CALL 1 through CALL 4) was initiated to
deliver the following prerecorded message in a female voice:

“Every year it is estimated that thirty percent of the senior population accidentally falls.
Many of these falls are serious and require medical attention. Now a new program
designed to help keep seniors safe and more protected is available for a short time.
Don't become a helpless victim lying on the floor without options. You may qualify to
receive a free medical emergency alert system. To find out if this program is available in
your area press one now. Press five to be removed, but to feel more protected, twenty
four hours a day, seven days a week, press one now.”

15. After listening to the prerecorded messages Plaintiff followed the instructions and
pressed one on his telephone so that he could identify the caller. Plaintiff was
thereby sold goods and/or services that were provided by Defendants LifeWatch
and/or LifeWatch Security, and Plaintiff was charged for those goods and/or services
by Defendant Harmonious Enterprises.
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The Law Related to this Case:

16. The Telephone Consumer Protection Act of 1991 (47 USC 227), and the Federal
Communication Commission’s (FCC’s) rules promulgated under that Act (47 CFR
64.1200, 64.1601, and 68.318), are hereinafter referred to collectively as the TCPA.

17. The TCPA is a Federal Act of Congress that provides individuals with a private right
of action in their State Courts. The Court of Common Pleas of Allegheny County is
an appropriate State Court to hear a cause of action brought under the TCPA
(Abramson v. Aegis Ins. Agency, Inc., 153 P.L.J. 174, 2005 TCPA Rep. 1362, 2005
WL 5088151).

18. It is the initiation of telephone calls for the furtherance of a business purpose without
consent that constitutes a violation of the TCPA, and the Commonwealth of
Pennsylvania retains personal jurisdiction over Defendants located in foreign States
even if those Defendants are alleged to have directed only a single telephone
solicitation or unsolicited advertisement into Pennsylvania in violation of the TCPA
(Abramson v. Perfekt Marketing, 2007 TCPA Rep. 1547; Abramson v. Royalty
Holidays, 2006 TCPA Rep. 1447, AR-05-008412, C.P. Allegheny County, PA,
Memorandum Order, Judge Wettick, April 4, 2006).

19. Plaintiff intends to serve Defendants located outside the Commonwealth of
Pennsylvania by certified mail, return receipt requested, pursuant to Pa. R.C.P. 402,
403, 404, 405, and 424 (Abramson v. Satellite Systems Network, AR-05-001510,
Memorandum Order, Judge Wettick, April 15, 2005; Reichert v. TRW, 385 Pa.
Super. 416, 561 A.2d. 745 (1989), reviewed on other grounds, 531 pa. 193, 611
A.2d. 1191 (1992); Goodrich-Amram, Standard Pennsylvania Practice, 2d, sections
403:1, 404(2):1, and 424:4 (2001)).

20. The FCC’s rules at 47 CFR 64.1200(a)(2), 47 CFR 64.1200(b)(1), 47 CFR
64.1200(b)(2), and 47 CFR 64.1601(e)({i) were promulgated under 47 USC 227(b).

21. The FCC’s rules at 47 CFR 64.1200(a)(2) state that:

(a) No person or entity may:

(2) Initiate any telephone call to any residential line using an artificial or prerecorded
voice to deliver a message without the prior express consent of the called party,
unless the calli:

(i) ls made for emergency purposes,

(ii) Is not made for a commercial purpose,

(iii) is made for a commercial purpose but does not include or introduce an
unsolicited advertisement or constitute a telephone solicitation,

(iv) Is made to any person with whom the caller has an established business
relationship at the time the call is made, or

(v) Is made by or on behalf of a tax-exempt nonprofit organization.
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22. The term “telephone solicitation” is defined at 47 CFR 64.1200(f)(9) as follows:

“The term telephone solicitation means the initiation of a telephone call or message for
the purpose of encouraging the purchase or rental of, or investment in, property, goods,
or services, which is transmitted to any person, but such term does not include a call or
message: (i) to any person with that person's prior express invitation or permission, (ii)
to any person with whom the caller has an established business relationship, or (iii) by or
on behalf of a tax exempt nonprofit organization.”

23. The term “unsolicited advertisement” is defined at 47 CFR 64.1200(f)(10) as follows:

“The term unsolicited advertisement means any material advertising the commercial

availability or quality of any property, goods, or services which is transmitted to any
person without that person's prior express invitation or permission.”

24. The FCC’s rules at 47 CFR 64.1200(b)(1) and 47 CFR 64.1200(b)(2) state that:

(b) All artificial or prerecorded telephone messages shall:

(1) At the beginning of the message, state clearly the identity of the business, individual,
or other entity that is responsible for initiating the cail. If a business is responsible for
initiating the call, the name under which the entity is registered to conduct business
with the State Corporation Commission (or comparable regulatory authority) must be
stated, and

(2) During or after the message, state clearly the telephone number (other than that of
the autodialer or prerecorded message player that placed the call) of such business,
other entity, or individual. The telephone number provided may not be a 900 number
or any other number for which charges exceed local or long distance transmission
charges. For telemarketing messages to residential telephone subscribers, such
telephone number must permit any individual to make a do-not-cail request during
regular business hours for the duration of the telemarketing campaign.

25. The FCC's rule at 47 CFR 64.1601(e)(i) states that:

(e) Any person or entity that engages in telemarketing, as defined in section 64.1200(f)(7)
must transmit caller identification information.

(i) For purposes of this paragraph, caller identification information must include either
CPN or ANI, and, when available by the telemarketer’s carrier, the name of the
telemarketer. It shall not be a violation of this paragraph to substitute (for the name
and phone number used in, or billed for, making the call) the name of the seller on
behalf of which the telemarketing call is placed and the seller's customer service
telephone number. The telephone number so provided must permit any individual to
make a do-not-call request during regular business hours.

26. The term “telemarketing” is defined at 47 CFR 64.1200(f)(7) as:

“The initiation of a telephone call or message for the purpose of encouraging the

purchase or rental of, or investment in, property, goods, or services, which is transmitted
to any person.”
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27. The TCPA provides a private right of action at 47 USC 227(b)(3) for violations of 47
CFR 64.1200(a)(2), 47 CFR 64.1200(b)(1), 47 CFR 64.1200(b)(2), and 47 CFR
64.1601(e)(i) which states that:

A person or entity may, if otherwise permitted by the iaws or rules of court of a State, bring
in an appropriate court of that State—-
(A) an action based on a violation of this subsection or the regulations prescribed under
this subsection to enjoin such violation,
(B) an action to recover for actual monetary loss from such a violation, or to receive
$500 in damages for each such violation, whichever is greater, or
(C) both such actions.
if the court finds that the defendant willfully or knowingly violated this subsection or the
regulations prescribed under this subsection, the court may, in its discretion, increase the
amount of the award to an amount equal to not more than 3 times the amount available
under subparagraph (B) of this paragraph.

28. The term “willful” is defined at 47 USC 312(f}(1) as:

“The conscious and deliberate commission or omission of [an] act, irrespective of any

intent to violate any provision of this Act or any rule or regulation of the Commission
authorized by this Act.”

Prayer for Relief;

29. Plaintiff alleges that Defendants LifeWatch, LifeWatch Security, Harmonious
Enterprises, and/or an entity acting on their behalf, initiated CALL 1, CALL 2,
CALL 3, and CALL 4 to Plaintiffs residential telephone line.

30. Plaintiff alleges that CALL 1, CALL 2, CALL 3, and CALL 4 were each deliberately
initiated to deliver a prerecorded message to Plaintiff's residential telephone line
without Plaintiff's prior express consent, in violation of 47 CFR 64.1200(a)(2).

31.Plaintiff alleges that CALL 1, CALL 2, CALL 3, and CALL 4 were each deliberately
initiated to deliver a prerecorded message that failed to provide any identification
about the caller, in violation of 47 CFR 64.1200(b)(1).

32. Plaintiff alleges that CALL 1, CALL 2, CALL 3, and CALL 4 were each deliberately
initiated to deliver a prerecorded message that failed to provide a telephone number
for the caller, in violation of 47 CFR 64.1200(b)(2).

33. Plaintiff alleges that CALL 1, CALL 2, CALL 3, and CALL 4 were each deliberately
initiated to deliver a prerecorded message that failed to provide a caller identification
number that could be used to place a do-not-call request, in violation of 47 CFR
64.1601(e)(i).
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34. Pursuant to 47 USC 227(b){3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $2,000.00 from Defendants LifeWatch,
LifeWatch Security, and Harmonious Enterprises for 4 separate violations of 47 CFR
64.1200(a)(2).

35. Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $2,000.00 from Defendants LifeWatch,
LifeWatch Security, and Harmonious Enterprises for 4 separate violations of 47 CFR
64.1200(b)(1).

36. Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $2,000.00 from Defendants LifeWatch,
LifeWatch Security, and Harmonious Enterprises for 4 separate violations of 47 CFR
64.1200(b)(2).

37.Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court award the
minimum mandatory statutory damages of $2,000.00 from Defendants LifeWatch,
LifeWatch Security, and Harmonious Enterprises for 4 separate violations of 47 CFR
64.1601(e)(i).

38. Plaintiff alleges that the actions and omissions of Defendants LifeWatch, LifeWatch
Security, and Harmonious Enterprises were conscious and deliberate, and that they
violated 47 CFR 64.1200(a)(2), 47 CFR 64.1200(b)(1), 47 CFR 64.1200(b)(2), and
47 CFR 64.1601(e)(i) of the TCPA willfully.

39. Pursuant to 47 USC 227(b)(3), Plaintiff hereby requests that the court treble the
requested minimum mandatory statutory damages of $8,000.00 to the maximum
statutory damages allowed by law of $24,000.00.

WHEREFORE, Plaintiff requests judgment in his favor, and against Defendants
LifeWatch Inc., LifeWatch Security Inc., and Harmonious Enterprises Inc., jointly and
severally, for $24,000.00 plus all reasonable court costs and attorney's fees.

e-filed: Stewart Abramson 9/25/13
Stewart N. Abramson, Plaintiff Date
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

Stewart N. Abramson
Plaintiff

CIVIL DIVISION

ARBITRATION DOCKET

No. AR-13-004302

Vv.

LifeWatch, Inc.
LifeWatch Security, Inc.
Harmonious Enterprises, Inc.
(each doing business as LifeWatch USA
and as Home Health Alert)
Defendants

VERIFICATION

Plaintiff Stewart N. Abramson verifies, pursuant to 18 Pa. C.S. Section 4904, that the
facts set forth in the foregoing Plaintiff's Original Complaint are true and correct to the
best of his knowledge, information and belief.

e-filed: Stewart Abramson 9/25/13
Stewart N. Abramson, Plaintiff Date
